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13

14                            UNITED STATES BANKRUPTCY COURT

15                             CENTRAL DISTRICT OF CALIFORNIA

16                                        (Riverside Division)

17   In re:                                        Bankruptcy Case No. 6:13-bk-27344-MH

18   DOUGLAS J. ROGER, M.D., INC., APC,            Chapter 7

19                        Debtor.                  Assigned to:
                                                      Hon. Mark D. Houle
20                                                    Ctrm. 303

21                                                 ORDER GRANTING SECOND JOINT
                                                   MOTION BY CHAPTER 7 TRUSTEE AND
22                                                 REVERE FINANCIAL CORPORATION
                                                   FOR ORDER APPROVING
23                                                 SETTLEMENT BETWEEN CHAPTER 7
                                                   TRUSTEE AND REVERE FINANCIAL
24                                                 CORPORATION

25                                                 Date:     2019-07-10
                                                   Time:     11:00 a.m. PDT
26                                                 Place:    Ctrm. 303

27

28

        ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1                                       I.      INTRODUCTION

 2          On 10 July 2019, at 11:00 a.m., the United States Bankruptcy Court for the Central

 3   District of California, Riverside Division, 3420 Twelfth Street, Riverside, California 92501,

 4   Courtroom 303, the Honorable Mark Houle, presiding (the “Court”), heard the Second Joint

 5   Motion by Chapter 7 Trustee and Revere Financial Corporation for Approval of Settlement

 6   between Chapter 7 Trustee and Revere Financial Corporation, filed 24 January 2018 [Docket #

 7   521] (the “Motion”).

 8                                       II.      APPEARANCES

 9          Chad Haes of Marshack Hays, LLP, appeared on behalf of Arturo Cisneros, the Chapter 7

10   Trustee.

11          No other parties appeared.

12                                             III.   ORDER

13          The Court, having read and considered the Motion and all papers filed in support of, and

14   opposition to, and the District Court’s order relating to, the Motion, and having heard all oral

15   arguments for and against the Motion, finds that good cause exists to grant the Motion as follows:

16                  1.      The Motion is granted in its entirety for the reasons set forth in the record

17          and the Court’s tentative ruling (attached).

18                  2.      The Settlement Contract between Arturo Cisneros, as the Chapter 7 Trustee

19          of the Bankruptcy Estate of Debtor Douglas J. Roger, M.D., Inc., APC, and Revere

20          Financial Corporation, dated 24 January 2018 (the “Settlement Contract”), which was
21          attached as Appendix “A” to the Second Joint Motion and Moving Memorandum by

22          Chapter 7 Trustee and Revere Financial Corporation for Order Approving Settlement

23          between Chapter 7 Trustee and Revere Financial Corporation, filed 24 January 2018

24          [Docket # 521], including, but not limited to, the Liquidating Trust Agreement for the

25          Bankruptcy Estate of Debtor Douglas J. Roger, M. D., Inc., APC, [Appendix “A,” Exhibit

26          4.32], is approved.
27                  3.      The DJRI Trustee is authorized to enter into the Settlement Contract and

28          take all steps necessary to implement and perform the terms of the Settlement Contract.
                                                    -1-
        ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1                  4.         All terms in the Settlement Contract shall bind the DJRI Trustee/the

 2           bankruptcy estate, RFC, and all other interested parties as of the Approval Date.1

 3                  5.         Effective as of the Approval Date, the Court also orders all that is set forth

 4           in paragraphs eight through forty-five of this order:

 5   A.      RFC’s Security Interest and Adequate Protection Liens

 6           Secured Debt and Security Interest

 7                  6.         RFC has a secured claim against the bankruptcy estate pursuant to the BLP

 8           Loan and the Roger Loan.

 9                  7.         The RFC Security Interest, on and after the DJRI Petition Date, constitutes

10           a lien against all Assets except Claims and Proceeds of Claims that the DJRI Trustee owns

11           under sections 544 through 553, inclusive, of the Bankruptcy Code, including, but not

12           limited to the following claims which are not subject to the RFC Security Interest:

13                             a.     DJRI Estate/DJRI-DBP Claim;

14                             b.     DJRI Estate/OIC Claim;

15                             c.     DJRI Estate/Trustee-Professionals Claims;

16                             d.     Receiver Claims; and

17                             e.     RFC Claims.

18                  8.         The RFC Security Interest, on and after the DJRI Petition Date, is legal, is

19           valid, has attached, is perfected, has first priority over all other liens against, or security

20           interests in, all Assets except Claims and Proceeds of Claims that the DJRI Trustee owns
21           solely under sections 544 through 553, inclusive, of the Bankruptcy Code including, but

22           not limited to:

23                             a.     DJRI Estate/DJRI-DBP Claim;

24                             b.     DJRI Estate/OIC Claim;

25                             c.     DJRI Estate/Trustee-Professionals Claims;

26
             1
27          From this point forward, all words with initial capitalization in this order shall have the
     same meaning and definition as in the Settlement Contract.
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                                                        -2-
          ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1                        d.       Receiver Claims; and

 2                        e.       RFC Claims

 3         subject only to the limitation in paragraph 45(b).

 4                9.      The RFC Security Interest is enforceable and binds the DJRI Estate.

 5         Adequate Protection

 6                10.     To protect RFC regarding the DJRI Trustee’s use of those Assets subject to

 7         the RFC Security Interest, the DJRI Trustee grants the Adequate Protection Liens to RFC,

 8         which constitute liens against all Assets and any RFC Advances.             Such Adequate

 9         Protection Liens are legal, are valid, have attached, are perfected, have first priority over

10         all other liens against, and security interests in, all Assets and the RFC Advances, and are

11         enforceable additional and replacement liens that bind the DJRI Trustee and the DJRI

12         Estate with the same effect as the RFC Security Interest subject only to the limitation in

13         paragraph 45(b).

14         Attachment

15                11.     The RFC Security Interest and the Adequate Protection Liens have

16         attached under all applicable federal, state, or other laws on the Approval Date.

17                12.     The RFC Security Interest and the Adequate Protection Liens do not

18         require any further act, consent, filing, notice, order, possession, or waiver by any Person

19         to effect attachment.

20         Perfection
21                13.     The RFC Security Interest and the Adequate Protection Liens:

22                        a.       are deemed to be perfected and recorded under all applicable

23                federal, state, or other laws as of the Approval Date; and

24                        b.       do not require any further act, consent, filing, notice, order,

25                possession, or waiver by any Person to effect perfection.

26         Priority
27                14.     To the extent RFC seeks to file or record any document, including, but not

28         limited to, any consents, financing statements, mortgages, notices of liens and security
                                                  -3-
        ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1           interests, trust deeds, or waivers to give full effect to the RFC Security Interest or the

 2           Adequate Protection Liens, any such filing, recording, or waiver shall relate in priority

 3           back to the date of the filing of the Roger/DJRI Financing Statements.

 4           Waiver

 5                   15.      The DJRI Trustee, on his own behalf, on behalf of any Persons whom he

 6           employs, and on behalf of the DJRI Estate, irrevocably waives all powers and rights to,

 7           and shall not:

 8                            a.     grant or impose under section 364 of the Bankruptcy Code or

 9                   otherwise any liens against, or security interests in, any of the Assets that are pari

10                   passu with, or senior to, the RFC Security Interest or the Adequate Protection

11                   Liens; or

12                            b.     seek a surcharge against any of the Assets under section 506(c) of

13                   the Bankruptcy Code or otherwise, or to modify or affect any right of RFC.

14           Continuing Effect

15                   16.      The RFC Security Interest and Adequate Protection Liens shall continue in

16           all Assets and all Proceeds and any RFC Advances until the DJRI Trustee actually pays

17           the money that comprises the Assets, Proceeds, and RFC Advances to the permitted

18           recipients pursuant to section 6.7 of the Settlement Contract.

19   B.      Carve-Out

20           Grant
21                   17.      RFC grants the Carve-Out to the DJRI Trustee.

22           Guarantee

23                   18.      RFC guarantees that the DJRI Trustee will be able to use the Carve-Out

24           and the DJRI Estate Priority Distribution (as defined in the Liquidating Trust Agreement)

25           pursuant to 6.7.1 of the Settlement Contract despite any other Persons’ claims of security

26           interests in that money, by either or both:
27                            a.     first, defending and defeating all such claims in the name of the

28                   DJRI Trustee; and/or
                                                      -4-
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 1                         b.       second, making RFC Advances.

 2   C.      Asset Liquidation

 3           Liquidating Trust Assets

 4                  19.    On the Approval Date, the DJRI Trustee shall transfer for prosecution

 5           and/or settlement and shall be deemed, without further action, to have transferred for

 6           prosecution and/or settlement the Liquidating Trust Assets, regardless of when created, to

 7           the Liquidating Trust to be held, administered, and liquidated by the Liquidating Trustee

 8           for the benefit of the creditors of the DJRI Estate pursuant to the Liquidating Trust

 9           Agreement.

10           Distributions From Liquidating Trust

11                  20.    Any distributions received by the DJRI Estate from the Liquidating Trust

12           shall be free and clear of any liens, claims, or interests of RFC and of any other alleged

13           secured claims as required by section 6.5 of the Settlement Contract; provided, however,

14           that the RFC Security Interest and/or the Adequate Protection Liens shall continue in such

15           distributions until the DJRI Trustee actually pays the money that comprises the Assets,

16           Proceeds, and RFC Advances to the permitted recipients pursuant to section 6.7 of the

17           Settlement Contract.

18   D.      Asset Distributions

19           Allowed Administrative Claims and Allowed Non-Administrative Claims

20                  21.    The DJRI Trustee shall use:
21                         a.       all Proceeds of the tax attributes of DJRI;

22                         b.       all DJRI Estate/DJRI-DBP Claim Sale Proceeds;

23                         c.       all DJRI Estate/OIC Claim Sale Proceeds;

24                         d.       all of the Carve-Out;

25                         e.       all distributions from the Liquidating Trust to the DJRI Trustee; and

26   ///
27   ///

28   ///
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 1                          f.      all Proceeds from the DJRI Trustee’s liquidation of any Liquidating

 2                  Trust Asset that the Liquidating Trustee transfers back to the DJRI Estate pursuant

 3                  to the Liquidating Trust Agreement and that the DJRI Trustee chooses not to

 4                  abandon,

 5           to pay Allowed Administrative Claims and Allowed Non-Administrative Claims in accord

 6           with section 726 of the Bankruptcy Code.

 7           Allowed Secured Claims

 8                  22.     Except as provided in section 6.7.1 of the Settlement Contract, the DJRI

 9           Trustee shall distribute all money that the DJRI Trustee receives from all Proceeds of all

10           Assets, including, but not limited to, the DJRI Estate Cash Collateral, to:

11                          a.      RFC without any reduction of any sort not later than 14 days after

12                  the DJRI Trustee or any Person acting at the DJRI Trustee’s direction has

13                  possession, custody, or control of the Proceeds and/or 14 days after the Approval

14                  Date, whichever is later;

15                          b.      unless another Person claims a security interest in the Proceeds, in

16                  which case the DJRI Trustee shall distribute Proceeds pursuant to a Final Order of

17                  the Bankruptcy Court.

18   E.      Asset Abandonment

19           Unliquidated Assets

20                  23.     The DJRI Trustee shall be deemed to have automatically abandoned all
21           unliquidated Assets, including the Receiver Claims and the RFC Claims, and specifically

22           excluding only the tax attributes of DJRI, the DJRI Estate/DJRI-DBP Claim Sale

23           Proceeds, the DJRI Estate/OIC Claim Sale Proceeds, the DJRI Estate/Trustee-

24           Professionals Claims, and the Liquidating Trust Assets, effective immediately on the

25           Approval Date, to the extent that the DJRI Trustee has not previously done so, without

26           further action by any Person or entry of any order by the Bankruptcy Court other than the
27           Settlement Order.

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          ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 2           Liquidating Trust Assets

 3                  24.     The DJRI Trustee shall abandon any Liquidating Trust Asset that the

 4           Liquidating Trustee, in the Liquidating Trustee’s sole and absolute discretion, transfers

 5           back to the DJRI Trustee pursuant to the Liquidating Trust Agreement and that RFC, in

 6           RFC’s sole and absolute discretion, designates in writing for the DJRI Trustee to abandon

 7           unless the DJRI Trustee chooses to actively prosecute that Liquidating Trust Asset for the

 8           DJRI Estate.

 9           Orders

10                  25.     RFC is authorized to submit any orders to the Bankruptcy Court to enter:

11                          a.     as additional evidence of the DJRI Trustee’s deemed abandonment

12                  of any unliquidated Asset pursuant to section 6.8.1 of the Settlement Contract; and

13                          b.     to effect the DJRI Trustee’s abandonment of any Claim upon

14                  RFC’s election pursuant to section 6.8.2 of the Settlement Contract,

15           both in RFC’s sole and absolute discretion.

16                  26.     The DJRI Trustee shall not object to, or otherwise interfere with, RFC’s

17           efforts to obtain, such orders as long as such orders are consistent with this Settlement

18           Contract and applicable bankruptcy law.

19   F.      RFC-DJRI Estate Claim

20           Allowance
21                  27.     For purposes of the DJRI Bankruptcy Estate, the RFC-DJRI Estate Claim

22           is allowed in the total combined secured and unsecured amount of $5,500,000.00, which

23           shall be allowed only as follows:

24                          a.     a secured claim in accord with section 506 of the Bankruptcy Code

25                  that is entitled to adequate protection as the Settlement Contract provides in the

26                  amount of $4,000,000.00; and
27                          b.     a general unsecured claim under section 502 of the Bankruptcy

28                  Code in the amount of $1,500,000.00.
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 1   ///

 2         Credit

 3                  28.    RFC shall credit against the $4,000,000.00 total secured portion of the

 4         RFC-DJRI Estate Claim:

 5                         a.      $286,354.00, which the Receiver collected on behalf of DJRI; and

 6                         b.     any payments on the Roger Loan and/or the BLP Loan that RFC

 7                  receives from any source, including, but not limited to, BLP, the BLP Estate,

 8                  DJRI, the DJRI Estate, and/or the Liquidating Trust.

 9         Objection

10                  29.    The DJRI Trustee shall not take any action against any Claim by RFC

11         against the DJRI Estate, whether by objection or otherwise.

12         Receiver

13                  30.    The Receiver has assigned all Claims that the Receiver may have against

14         the DJRI Estate to RFC.

15                  31.    The RFC-DJRI Estate Claim includes all Claims that the Receiver may

16         have against the DJRI Estate.

17                  32.    RFC shall indemnify the DJRI Estate and the DJRI Releasees for any

18         Claim that the Receiver asserts against the DJRI Estate and the DJRI Releasees.

19                  33.    RFC and/or the Receiver are authorized to file an amended proof of claim

20         against the DJRI Estate to state the full amount of the Receiver’s Claim against the DJRI
21         Estate, but which shall remain subject to the allowed amounts in section 6.9.1 of the

22         Settlement Contract.

23                  34.    The DJRI Trustee shall not take any action against any Claim by the

24         Receiver against the DJRI Estate, whether by objection or otherwise.

25         RFC—BLP, Ebarb, and Roger

26                  35.    The DJRI Trustee will take no position at any time on the validity or
27         amount of RFC’s Claims against BLP, Ebarb, or Roger in action, case, or proceeding.

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        ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1   ///

 2           RFC’s Claim Objections

 3                   36.     RFC is authorized to object to any Claim and any administrative expense

 4           that any Person seeks to recover from the DJRI Estate, and the DJRI Trustee will not

 5           interfere with any such objection; provided, however, the DJRI Trustee and any

 6           professionals that the DJRI Trustee hires may defend any objection that RFC makes to

 7           any request that the DJRI Trustee or any professional that the DJRI Trustee hires,

 8           respectively, makes for fees and expenses.

 9   G.      Relief from Stay

10           All Purposes

11                   37.     The Receiver and RFC are granted immediate relief from the automatic

12           stay in the DJRI Estate on the Approval Date, to whatever extent the automatic stay then

13           still applies, for all purposes, including, but not limited to, as to DJRI, to:

14                           a.      liquidate and obtain judgments and/or orders on all Claims that the

15                   Receiver and RFC may have against any of BLP, Ebarb, DJRI, and Roger before

16                   the State Court, but not to enforce any judgment or order liquidating those Claims

17                   against any Asset except any abandoned Asset; and/or

18                           b.      obtain judgments and/or orders to discharge the Receiver in all

19                   respects, including, but not limited to, obtaining approval of the Receiver’s

20                   accounting, including, but not limited to, determining/approving the amounts of
21                   the Receiver’s fees/expenses, awarding the Receiver’s fees/expenses against any

22                   of BLP, Ebarb, DJRI, and Roger, and terminating the office of the Receiver in the

23                   RFC Action, before the State Court, but not to enforce any judgment or order on

24                   such matters against any Asset except any abandoned Asset.

25           Limit

26                   38.     RFC shall not take any action against the Liquidating Trust or the DJRI
27           Estate that is inconsistent with the express terms of the Settlement Contract or the

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                                                        -9-
          ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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 1           Liquidating Trust so long as the DJRI Trustee is not in material breach of the Settlement

 2           Contract or the Liquidating Trust Agreement.

 3   H.      Other Provisions

 4           Determination

 5                  39.     The DJRI Trustee shall employ section 505 of the Bankruptcy Code to

 6           obtain a prompt determination of taxes for the DJRI Estate.

 7           Tax Attributes

 8                  40.     The DJRI Trustee shall act in good faith to preserve all tax attributes

 9           favorable to the DJRI Estate and pursue refunds for the benefit of the DJRI Estate.

10           Payment

11                  41.     The DJRI Estate and RFC shall each pay their own taxes arising out of, or

12           related to, any transaction that is the subject of this Settlement Contract.

13           Liquidating Trust

14                  42.     The Bankruptcy Court finds that the Liquidating Trust qualifies as a

15           liquidating trust within the meaning of section 301.7701-4(d) of the United States

16           Treasury Regulations for federal and applicable state income tax purposes.

17                  43.     The Parties shall file tax returns reporting items of taxable income and loss

18           in respect of the Liquidating Trust as required by and in a manner that is consistent with

19           the provisions of the Liquidating Trust Agreement.

20           Cooperation
21                  44.     The DJRI Trustee and RFC, as creditor and as Liquidating Trustee, shall

22           reasonably cooperate with each other, the Liquidating Trust, and other Persons as the

23           DJRI Trustee and RFC, as creditor and as Liquidating Trustee, may request, including, but

24           not limited to, by providing assistance, documents, and information, signing and

25           delivering any and all documents, and performing any and all acts, to liquidate all Assets,

26           prosecute/defend all Claims, collect all Proceeds, and satisfy all allowed Claims; the
27           Person requesting such cooperation shall pay any reasonable expenses of the Person

28           providing the cooperation incurs to do so. Nothing contained in this Settlement Contract
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 1           or the Liquidating Trust Agreement, however, shall prevent the DJRI Trustee from filing

 2           and seeking approval of a trustee final report reserving the right to re-open the case to

 3           administer any additional Assets the DJRI Estate receives pursuant to this Settlement

 4           Contract or the Liquidating Trust Agreement.

 5           Preclusion

 6                   45.     Nothing in the Settlement Contract shall bind, or constitute evidence for or

 7           against:

 8                           a.     BLP, DJRI, Ebarb, the Receiver, RFC, or Roger in the Ebarb

 9                   Adversary Proceeding, the RFC Action, or the RFC Adversary Proceeding; and

10                           b.     Any Person who claims a security interest in any Asset in any

11                   action, case, or proceeding to determine any issue regarding that claimed security

12                   interest, including, but not limited to the existence, validity, effectiveness, nature,

13                   extent, scope, or priority of that claimed security interest.

14           pursuant to any legal or equitable doctrine, including, but not limited to, claim preclusion,

15           collateral estoppel, estoppel, issue preclusion, judicial estoppel, merger, res judicata, or

16           waiver, whether offensively or defensively.

17   IT IS SO ORDERED.
18                                                    ###
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     Date: August 9, 2019
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         ORDER ON SECOND JOINT MOTION TO APPROVE SETTLEMENT BETWEEN TRUSTEE AND RFC
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                             United States Bankruptcy Court
                              Central District of California
                                           Riverside
                                  Judge Mark Houle, Presiding
                                    Courtroom 303 Calendar

Wednesday, July 10, 2019                                                       Hearing Room        303

11:00 AM
6:13-27344      Douglas J Roger, MD, Inc., A Professional Corporat                            Chapter 7

    #2.00     Motion to Approve Compromise Under Rule 9019 by Chapter 7 Trustee and
              Secured Creditor Revere Financial Corporation; Moving Memorandum

              EH__

                                   Docket       521

  Tentative Ruling:
      7/10/19

      PROCEDURAL BACKGROUND



      On October 20, 2013, Douglas Jay Roger, MD, Inc., ("Debtor") filed a Chapter 7
      voluntary petition. In 2015, Trustee filed six adversary proceedings. Of the six, two
      are closed, one has been resolved but is still open, and three are still pending.



      On April 6, 2016, Trustee filed motions to approve compromise ("Compromise
      Motions") in two of the adversary proceedings (the "Auctioned Adversaries"). After
      several continuances of the Compromise Motions, the defendants in the Auctioned
      Adversaries filed motions to enforce the settlement agreements on November 5, 2016
      (the "Enforcement Motions"). On January 31, 2017, the day before the hearing on the
      Compromise Motions and Enforcement Motions, Trustee filed additional compromise
      motions (the "Second Compromise Motions") with Revere Financial Corporations
      ("Revere") which included the subject matter of the Compromise Motions as well as a
      variety of additional matters. Ultimately, after further continuances, the Court held
      auctions on the Auctioned Adversaries on August 2, 2017. At the auctions, Revere
      was the highest bidder for one of the Auctioned Adversaries and the adversary
      defendant was the highest bidder for the other Auctioned Adversary.




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                             United States Bankruptcy Court
                              Central District of California
                                          Riverside
                                 Judge Mark Houle, Presiding
                                   Courtroom 303 Calendar

Wednesday, July 10, 2019                                                      Hearing Room        303

11:00 AM
CONT...       Douglas J Roger, MD, Inc., A Professional Corporat                            Chapter 7
      On January 24, 2018, Revere filed a new compromise motion (the "Third
      Compromise Motion"). On January 31, 2018, Bank of Southern California, N.A. filed
      a limited opposition to the Current Compromise Motion. On February 1, 2018, Debtor
      filed its opposition to the Current Compromise Motion. On February 6, 2018,
      American Express Company filed a joinder to Debtor’s opposition. On February 13,
      2018, the Court continued the hearing for six weeks to March 28, 2018.



      At the hearing on March 28, 2019, the Court expressed its intention to hold an auction
      of the claims which were included in the Third Compromise Motion, and continued
      the matter for an additional six weeks. On April 18, 2019, Trustee filed a sale motion.
      This sale motion was objected to by Bank of Southern California, N.A., American
      Express Company, Douglas J Roger, MD ("Roger"), and Revere. On April 26, 2018,
      Roger requested an emergency hearing, arguing, essentially, that the procedures
      selected by Trustee were not in compliance with the Court’s oral instructions at the
      hearing of March 28. Subsequently, the Court converted the hearing of May 9 into a
      status conference to resolve the new dispute. The hearing of May 9 was subsequently
      continued to June 11, and an amended sale motion was filed by Trustee on May 21.
      Objections were ultimately filed by Roger, Revere, and American Express Company.



      On June 11, 2019, the Court held an auction, however, there were no successful
      overbids (i.e. overbids which cleared a certain minimum amount). After the
      unsuccessful auction, the Court took the Third Compromise Motion under
      submission. On July 26, 2018, Revere appealed the sale motion (the "Appeal"). After
      the Appeal, the Court withdrew the Third Compromise Motion from submission and,
      on August 22, 2018, informed the parties that the Appeal would have to be resolved
      before the Court ruled on the Third Compromise Motion.



      On April 5, 2019, the district court reversed the Court’s order approving the holding
      of an auction,1 invalidating a sale order which resulted in no sale being consummated.
      The district court instructed this Court "to analyze whether the Second RFC
      Settlement is fair and equitable under the factors set forth in A&C Properties."

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      Therefore, the Court will continue with the analysis it was undertaking a year ago.

      FACTUAL BACKGROUND

      The Third Compromise Motion creates four categories of assets: (1) cash held by
      Trustee and in which Revere claims a security interest ("Encumbered Cash"); (2) cash
      received from the Auctioned Adversaries ("Unencumbered Cash"); (3) tax refunds
      ("Uncertain Cash"); and (4) claims ("Uncertain Claims"). Pursuant to the terms of the
      compromise the bankruptcy estate is guaranteed, for distribution to administrative and
      unsecured claimants, $185,000 in Unencumbered cash, a $45,000 carve-out from
      Revere.

      The settlement agreement also contemplates the creation of a liquidating trust with
      Revere acting as liquidating trustee. The rights to pursue Debtor’s causes of action
      will be assigned to the liquidating trust, and Revere will have full discretion to
      determine which claims to pursue. Revere will cover the costs incurred by the
      liquidating trust. Any recovery obtained by the liquidating trust will be distributed as
      followed:

          (1) Payment of taxes
          (2) An $80,000 distribution to the bankruptcy estate
          (3) Reimbursement of expenses incurred by Revere
          (4) Payment of an "equalizing distribution" "so that the DJRI Estate has received
              25% of all net proceeds and RFC has received 75% of all net proceeds; and
          (5) Distribution of 25% of all remaining proceedings to the bankruptcy estate.


      In return, the settlement agreement provides that Trustee will agree to allow Revere a
      claim of $5,500,000.00, of which $4,000,000.00 will be treated as secured. Trustee
      also waives the right to challenge the validity or priority of Revere’s security interest,
      and abandons any remaining interest in Revere’s collateral.2

      DISCUSSION


          I.      Legal Standard for Approving Compromise

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      Rule 9019(a) authorizes the bankruptcy court to approve a compromise or settlement
      on the trustee's motion and after notice and a hearing. The bankruptcy court must
      consider all "factors relevant to a full and fair assessment of the wisdom of the
      proposed compromise." Protective Comm. for Indep. Stockholders of TMT Trailer
      Ferry, Inc. v. Anderson, 390 U.S. 414, 424, 88 S. Ct. 1157, 20 L. Ed. 2d 1 (1968). In
      other words, the bankruptcy court must find that the settlement is "fair and equitable"
      in order to approve it. Martin v. Kane (In re A & C Props.), 784 F.2d 1377, 1381 (9th
      Cir. 1986).

      In conducting this inquiry, the bankruptcy court must consider the following factors:

              (a) the probability of success in the litigation; (b) the difficulties, if
              any, to be encountered in the matter of collection; (c) the complexity of
              the litigation involved, and the expense, inconvenience and delay
              necessarily attending it; and (d) the paramount interest of the creditors
              and a proper deference to their reasonable views in the premises.

      Id.

      The bankruptcy court enjoys broad discretion in approving a compromise because it
      "is uniquely situated to consider the equities and reasonableness [of it] . . . ." United
      States v. Alaska Nat'l Bank (In re Walsh Construction, Inc.), 669 F.2d 1325, 1328 (9th
      Cir. 1982). As stated in A & C Props.:

              The purpose of a compromise agreement is to allow the trustee and the
              creditors to avoid the expenses and burdens associated with litigating
              sharply contested and dubious claims. The law favors compromise and
              not litigation for its own sake, and as long as the bankruptcy court
              amply considered the various factors that determined the
              reasonableness of the compromise, the court's decision must be
              affirmed.

      Id. (citations omitted).

      On the other hand, even though the bankruptcy court has wide latitude in approving


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      compromises, its discretion is not completely unfettered. See Woodson v. Fireman's
      Fund Ins. Co. (In re Woodson), 839 F.2d 610, 620 (9th Cir. 1988). The trustee bears
      the burden of proving to the bankruptcy court that the settlement is fair and equitable
      and should be approved. In re A&C Props., 784 F.2d at 1382.

      The Court shall apply the A&C factors to the Third Compromise Motion.


          A. The Probability of Success in the Underlying Litigation

      The factor does not carry significant weight, but may weigh slightly in favor of
      approving the compromise. As noted in the compromise motion [Dkt. No 521., pgs.
      25-26], Trustee would face arduous litigation if the claim objection were to be
      prosecuted. Nevertheless, the unusual complexity that the litigation would present is
      more appropriately considered under the third A&C factor. Given the complexity of
      the record, and the superficiality of the argument presented regarding the first factor in
      the compromise motion, the Court cannot conclude that this factor carries significant
      weight.

          B. Difficulty of Collection

      Trustee and Revere argue that this factor is irrelevant because Trustee is not
      attempting to collect from Revere. This argument appears to miss the principle behind
      the second A&C factor – whether, if successful, the Trustee would face obstacles in
      realizing value. Here, a reduction in the claim of Revere would, potentially, free up
      assets for distribution to administrative and unsecured claimants. The Court has not
      been presented with any clear evidence in the record to suggest that the subsequent
      liquidation of those assets would be unusually burdensome. Therefore, this factor
      weighs against settlement, although the Court only gives this factor minimal weight.

          C. Complexity, Cost, Inconvenience and Delay of Litigation

      For the reasons stated in the compromise motion [Dkt. No. 521], the declaration of
      Arturo Cisneros [Dkt. No 523], the declaration of Franklin Fraley [Dkt. No. 524], and
      the request for judicial notice [Dkt. No 525], prosecuting a claim objection against
      Revere would be extraordinarily costly and unusually complicated. Therefore, this


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      factor weighs in favor of settlement.

          D. Interest of Creditors

      For the reasons stated in the compromise motion [Dkt. No 521, pgs. 27-28], and
      noting the lack of any opposition, the Court finds that this factor weighs in favor of
      the settlement. Specifically, the Court notes that the bankruptcy estate appears to be
      administratively insolvent at present, and it does not appear plausible, given the
      current state of the administration of the case, that the estate will become
      administratively solvent in the near future. Also noting that this case has been pending
      nearly six years, the Court is forced to conclude that the potential benefits offered by
      Revere pursuant to the settlement agreement, are, from the perspective of creditors,
      preferable to the instant quagmire.

      Therefore, for the reasons stated above and for the reasons stated in the compromise
      motion [Dkt. No 521], the Court is inclined to find that the settlement agreement
      satisfies the A&C Properties factors.

          II.     Miscellaneous

      The settlement contract and the liquidating trust agreement, a combined sixty-three
      pages, contain a number of minor drafting errors and inconsistencies. The Court is
      inclined to GRANT the compromise motion, noting, however, that: (a) any
      ambiguities or inconsistencies would likely be resolved against the drafter (i.e.
      Revere); and (b) any subsequent interpretation of the contract terms would be subject
      to a reasonableness test, with the Court retaining jurisdiction to interpret any dispute
      in terms.

      An example of the former is that the compromise motion repeatedly oscillates
      between identifying an $80,000 priority distribution and a $75,000 priority
      distribution. [Dkt. No. 521, pgs. 10-12]. An example of the latter is the Court’s
      continued interpretation to review the reasonableness of the "trust expense," as
      outlined in ¶ 3.10 of the liquidating trust agreement.




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      TENTATIVE RULING

      The Court is inclined to GRANT the motion, APPROVING the compromise in its
      entirety subject to the concerns raised above.

      APPEARANCES REQUIRED.
                                      Party Information
  Debtor(s):
       Douglas J Roger, MD, Inc., A              Represented By
                                                   Summer M Shaw
                                                   Michael S Kogan
                                                   George Hanover
  Movant(s):
       Revere Financial Corporation              Represented By
                                                   Franklin R Fraley Jr
  Trustee(s):
       Arturo Cisneros (TR)                      Represented By
                                                   Chad V Haes
                                                   D Edward Hays
                                                   Franklin R Fraley Jr




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